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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

   BIODELIVERY SCIENCES
   INTERNATIONAL, INC. and
   ARIUS TWO, INC.,

                            Plaintiffs,

                     V.                      Civil Action No. 18-1395-CFC

   ALVOGEN PB RESEARCH &
   DEVELOPJvfENTLLC,ALVOGEN
   MALTA OPERATIONS LTD.,
   ALVOGEN PINE BROOK LLC,
   ALVOGEN, INC., and ALVOGEN
   GROUP, INC.,

                           Defendants.


   Jack Blumenfeld, Jeremy A. Tigan, MORRIS, NICHOLS, ARSHT & TUNNELL
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   California; Howard W. Levine, DECHERT LLP, Washington, District of
   Columbia; Justin J. Hasford, Daniel G. Chung, Michael R. Galgano, Bonnie
   Flecther-Price, Daniele San Roman; FINNEGAN, HENDERSON, FARABOW,
   GARRETT & DUNNER, LLP, Washington, District of Columbia; Charles E.
   Lipsey, FINNEGAN, HENDERSON, FARABOW, GARRETT & DUNNER,
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                                    OPINION




   December 20, 2021
   Wilmington, Delaware




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                                                                         CHIEF JUDGE

          Plaintiffs BioDelivery Sciences International, Inc and Arius Two, Inc.

   (collectively BDSI) have sued Defendants Alvogen PB Research & Development

   LLC, Alvogen Malta Operations Ltd., Alvogen Pine Brook LLC, Alvogen, Inc.,

   and Alvogen Group, Inc. (collectively Alvo gen) under the Drug Price Competition

   and Patent Term Restoration Act-commonly called the Hatch-Waxman Act.

   BDSI alleges that Alvogen's submission to the Food and Drug Administration

   (FDA) of an Abbreviated New Drug Application (ANDA) for approval to market a

   generic version ofBDSI's Belbuca® drug product constitutes infringement of U.S.

   Patents Nos. 8,147,866 (the #866 patent, JTX-001), 9,655 ,843 (#843 patent, JTX-

   002), and 9,901,539 (the #539 patent, JTX-003) pursuant to 35 U.S.C. §

   2 71 (e)(2)(A).

          BDSI assert claims 3, 4, 5, and 10 of the #866 patent; claims 8, 9, and 20 of

   the #843 patent; and claims 9 and 20 of the #539 patent. Alvogen stipulated to

   infringement of the asserted claims but argues that all asserted claims are invalid.

   Alvogen contends (1) that all of the asserted claims are invalid for obviousness

   under 35 U.S.C. § 103 and (2) that claims 3, 4, 5, and 10 of the #866 patent and

   claims 8 and 20 of the #843 patent are invalid for anticipation under§ 102.
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           I held a three-day bench trial, and, as required by Federal Rule of Civil

   Procedure 52(a)( 1), I have set forth separately below my findings of fact and

   conclusions of law.

   I.      THE STATUTORY AND REGULATORY FRAMEWORK
           The ANDA procedures out of which this case arise were established by FDA

   regulations promulgated pursuant to the Federal Food, Drug, and Cosmetic Act

   (FDCA), 21 U.S.C. § 301 et seq., and specifically by the so-called Hatch-Waxman

   Amendments to the FDCA. Justice Kagan provided in Caraco Pharmaceutical

   Laboratories, Ltd. v. Novo NordiskAIS, 566 U.S. 399 (2012), this helpful summary

   of the provisions of the Amendments and the FDA regulations that bear on this

   case:

                 The FDA regulates the manufacture, sale, and labeling of
                 prescription drugs under a complex statutory scheme. To
                 begin at the beginning: When a brand manufacturer wishes
                 to market a novel drug, it must submit a new drug
                 application (NDA) to the FDA for approval. The NDA
                 must include, among other things, a statement of the
                 drug's components, scientific data showing that the drug
                 is safe and effective, and proposed labeling describing the
                 uses for which the drug may be marketed. The FDA may
                 approve a brand-name drug for multiple methods of use-
                 either to treat different conditions or to treat the same
                 condition in different ways.

                 Once the FDA has approved a brand manufacturer's drug,
                 another company may seek permission to market a generic
                 version pursuant to legislation known as the Hatch-
                 Waxman Amendments. Those amendments allow a
                 generic competitor to file an abbreviated new drug

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               application (ANDA) piggy-backing on the brand's NDA.
               Rather than providing independent evidence of safety and
               efficacy, the typical ANDA shows that the generic drug
               has the same active ingredients as, and is biologically
               equivalent to, the brand-name drug.         As we have
               previously recognized, this process is designed to speed
               the introduction of low-cost generic drugs to market.

               Because the FDA cannot authorize a generic drug that
               would infringe a patent, the timing of an ANDA's
               approval depends on the scope and duration of the patents
               covering the brand-name drug. Those patents come in
               different varieties. One type protects the drug compound
               itself. Another kind . . . gives the brand manufacturer
               exclusive rights over a particular method of using the drug.
               In some circumstances, a brand manufacturer may hold
               such a method-of-use patent even after its patent on the
               drug compound has expired.

               To facilitate the approval of generic drugs as soon as
               patents allow, the Hatch-Waxman Amendments and FDA
               regulations direct brand manufacturers to file information
               about their patents. The statute mandates that a brand
               submit in its NOA the patent number and the expiration
               date of any patent which claims the drug for which the
               brand submitted the NDA or which claims a method of
               using such drug. And the regulations issued under that
               statute require that, once an NOA is approved, the brand
               provide a description of any method-of-use patent it holds.
               That description is known as a use code, and the brand
               submits it on FDA Form 3542. . . . [T]he FDA does not
               attempt to verify the accuracy of the use codes that brand
               manufacturers supply. It simply publishes the codes,
               along with the corresponding patent numbers and
               expiration dates, in a fat, brightly hued volume called the
               Orange Book (less colorfully but more officially
               denominated Approved Drug Products With Therapeutic
               Equivalence Evaluations).



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               After consulting the Orange Book, a company filing an
               ANDA must assure the FDA that its proposed generic drug
               will not infringe the brand's patents. When no patents are
               listed in the Orange Book or all listed patents have expired
               (or will expire prior to the ANDA' s approval), the generic
               manufacturer simply certifies to that effect. Otherwise,
               the applicant has two possible ways to obtain approval.

               One option is to submit a so-called section viii statement,
               which asserts that the generic manufacturer will market
               the drug for one or more methods of use not covered by
               the brand's patents. A section viii statement is typically
               used when the brand's patent on the drug compound has
               expired and the brand holds patents on only some
               approved methods of using the drug. If the ANDA
               applicant follows this route, it will propose labeling for the
               generic drug that "carves out" from the brand's approved
               label the still-patented methods of use. The FDA may
               approve such a modified label as an exception to the usual
               rule that a generic drug must bear the same label as the
               brand-name product. FDA acceptance of the carve-out
               label allows the generic company to place its drug on the
               market (assuming the ANDA meets other requirements),
               but only for a subset of approved uses-i. e., those not
               covered by the brand's patents.

                                          ****
               The generic manufacturer's second option is to file a so-
               called paragraph IV certification, which states that a listed
               patent "is invalid or will not be infringed by the
               manufacture, use, or sale of the generic drug." 21 U.S.C.
               § 355G)(2)(A)(vii)(IV). A generic manufacturer will
               typically take this path in either of two situations: if it
               wants to market the drug for all uses, rather than carving
               out those still allegedly under patent; or if it discovers, as
               described above, that any carve-out label it is willing to
               adopt cannot avoid the brand's use code. Filing a
               paragraph IV certification means provoking litigation.
               The patent statute treats such a filing as itself an act of

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                infringement, which gives the brand an immediate right to
                sue [under] 35 U.S.C. § 271(e)(2)(A). Assuming the brand
                does so, the FDA generally may not approve the ANDA
                until 3 0 months pass or the court finds the patent invalid
                or not infringed. Accordingly, the paragraph IV process is
                likely to keep the generic drug off the market for a lengthy
                period, but may eventually enable the generic company to
                market its drug for all approved uses.

   566 U.S. at 404-08 (irrelevant citations and internal quotation marks omitted).

   II.   BACKGROUND

         Belbuca® is a bioerodable mucoadhesive (BEMA) film for transmucosal

   delivery of the opioid buprenorphine and is indicated for the treatment of pain. Tr.

   91:13; JTX-233 at 23. Belbuca® is a dissolvable film placed on the inside of the

   patient's check. As the film dissolves, buprenorphine flows into the mucosa,

   where the drug enters the bloodstream and spreads throughout the body. Belbuca®

   is applied to the patient's buccal surface, i.e., the inside of the cheek. The film has

   two layers: (1) a mucoadhesive layer that contains the drug and that adheres to the

   user's buccal surface and (2) a backing layer that prevents the drug from dissolving

   into the oral cavity and, thus, from being swallowed. Tr. 593:16-25; JTX-233 at

   23. The backing layer creates a unidirectional gradient so that buprenorphine

   moves from the mucoadhesive layer into the mucosa, the soft tissue that lines the

   inside of the mouth, where the drug is further absorbed into the bloodstream. Tr.

   139:11-14, 586:24-587:19.



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         BDSI is the assignee of the asserted patents and lists them in connection

   with Belbuca® in the Orange Book. BDSI also lists U.S. Patent No. 7,579,019

   (the #019 patent) in the Orange Book. The #019 patent expired on January 22,

   2020. Alvogen filed an ANDA seeking FDA approval for a generic version of

   Belbuca® after expiration of the #019 patent but before expiration of the asserted

   patents. Alvogen' s ANDA contains a paragraph IV certification alleging that the

   asserted patents are invalid. See 21 U.S.C. § 355 G)(2)(A)(vii)(IV). In response to

   that certification, BDSI brought this litigation.

         The #866 and #843 patents, both of which are titled "Transmucosal Delivery

   Devices with Enhanced Uptake," were issued on April 3, 2012 and May 23, 201 7

   respectively. The #843 is a continuation of the #866 patent and claims the same

   priority date. The parties dispute what priority date the patents are eligible to

   claim, but the earliest possible priority date is July 21, 2006. D.I. 229, Ex. 1 ,r,r 21,

   28. The patents teach two-layer bioerodable mucoadhesive buprenorphine delivery

   devices and methods for administering buprenorphine with those same devices.

         The #539 patent, titled "Transmucosal Drug Delivery Devices for Use in

   Chronic Pain Relief," was issued on February 27, 2018 and claims a priority data

   of December 21, 2011. JTX-003. The #539 patent discloses the results of a

   Belbuca® clinical trial and teaches the treatment of chronic pain using a BEMA




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    device where the backing layer is buffered to a pH of between about 4.0 and about

    4.8.

    ID. LEGALSTANDARDS
           A.    Obviousness

           Under § 103 of the Patent Act, 1 a patent "may not be obtained ... if the

    differences between the subject matter sought to be patented and the prior art are

    such that the subject matter as a whole would have been obvious at the time the

    invention was made to a person having ordinary skill in the art to which said

    subject matter pertains." 35 U.S.C. § 103 (2006). As the Supreme Court explained

    in the seminal case Graham v. John Deere Co., 383 U.S. 1 (1966), under§ 103,

    " [a]n invention which has been made, and which is new in the sense that the same

    thing has not been made before, may still not be patentable if the difference

    between the new thing and what was known before is not considered sufficiently

    great to warrant a patent." Id. at 14. Section 103 ensures that "the results of

    ordinary innovation are not the subject of exclusive rights under the patent laws."

    KSR Int'! Co. v. Teleflex Inc., 550 U.S. 398,427 (2007). "Were it otherwise



    1 Congress amended the Patent Act in 2011 when it enacted the Leahy-Smith
    America Invents Act (AIA). See Pub. L. No. 112-29, 125 Stat. 284,296 (2011).
    Pre-AIA versions of§ 102 and § 103 apply to all patents with an effective filing
    date before March 16, 2013. See§ 3(n) 125 Stat. at 293. All three of the patents at
    issue have effective filing dates earlier than 2013. I will, therefore, cite only to the
    pre-AIA Act.

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    patents might stifle, rather than promote, the progress of useful arts." Id. (citing

    U.S. Const. art. I, § 8, cl. 8).

           The Court reaffirmed in KSR that the "framework" set out in the following

    paragraph from Graham governs the application of§ 103, id. at 406:

                  While the ultimate question of patent validity is one of
                  law, the [§] 103 condition [of patentability] ... lends itself
                  to several basic factual inquiries. Under[§] 103, the scope
                  and content of the prior art are to be determined;
                  differences between the prior art and the claims at issue
                  are to be ascertained; and the level of ordinary skill in the
                  pertinent art resolved. Against this background, the
                  obviousness or nonobviousness of the subject matter is
                  determined.        Such secondary considerations as
                  commercial success, long felt but unsolved needs, failure
                  of others, etc., might be utilized to give light to the
                  circumstances surrounding the origin of the subject matter
                  sought to be patented. As indicia of obviousness or
                  nonobviousness, these inquiries may have relevancy.

    Graham, 383 U.S. at 14-15 (citations omitted).

           It is clear that under this framework, a district court must consider in an

    obviousness inquiry the three primary factors identified by the Court in Graham:

    (1) the scope and content of the prior art, (2) the differences between the prior art

    and the claims at issue, and (3) the level of ordinary skill in the pertinent art. Less

    clear is the role, if any, secondary considerations should play in the analysis.

           The logical-some would say necessary-implication of the Court's use of

    the word "secondary" in Graham and its holding that the secondary considerations

    "might be utilized" and "may have relevancy" is that a district court is permitted-

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    but not required in all cases-to examine such considerations in evaluating an

    obviousness-based invalidity challenge. The Court seemed to confirm as much in

    KSR, when it noted that "Graham set forth a broad inquiry and invited courts,

    where appropriate, to look at any secondary considerations that would prove

    instructive." KSR, 550 U.S. at 415 (emphasis added).

          But a district court ignores Graham's "invitation" to examine secondary

    considerations at its peril. One legal scholar, Harmon, has observed that under

    Federal Circuit law "[w]e are able now safely to strike the 'may' in the ...

    sentence" in Graham in which the Court stated that secondary "indicia of

    obviousness and nonobviousness ... may have relevancy." Robert Harmon,

    Cynthia Homan, & Laura Lydigsen, Patents and the Federal Circuit 245 (13th ed.

    2017). Harmon correctly notes that "[t]he Federal Circuit has emphatically and

    repeatedly held that objective evidence of non-obviousness must be taken into

    account always and not just when the decisionmaker is in doubt." Id. In

    Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530 (Fed. Cir. 1983), for example, the

    Federal Circuit held that "evidence rising out of the so-called 'secondary

    considerations' must always when present be considered en route to a

    determination of obviousness." Id. at 1538. And in In re Cyclobenzaprine

    Hydrochloride Extended-Release Capsule Patent Litigation, 676 F.3d 1063 (Fed.

    Cir. 2012), the Federal Circuit reaffirmed that holding, id. at 1079, and went on to


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    say that the Supreme Court in Graham "did not relegate ... to 'secondary status"'

   the "objective factors" the Supreme Court had explicitly identified in Graham as

   "secondary considerations," id. at 1078.

          It is true that less than a month after In re Cyclobenzaprine, a different

   Federal Circuit panel held in Otsuka Pharmaceutical Co. v. Sandoz, Inc., 678 F.3d

    1280 (Fed. Cir. 2012), that because it found that the defendants had "failed to

    prove that [the challenged patent claim] would have been prima facie obvious over

    the asserted prior art," it "need not address" the "objective evidence" of

    commercial success, long-felt need, and the failure of others. Id. at 1296. But the

    safer course for a district court faced with an obviousness challenge is to treat

    Graham's invitation to look at secondary considerations like a subpoena.

          Obviousness is assessed based on the perspective of an artisan of ordinary

    skill at the time of the invention. Unigene Labs., Inc. v. Apotex, Inc., 655 F.3d

    1352, 1360 (Fed. Cir. 2011). The court therefore needs to guard against "hindsight

    bias" that infers from the inventor's success in making the patented invention that

    the invention was obvious. In re Cyclobenzaprine, 676 F.3d at 1079. The ultimate

    question in the obviousness analysis is "whether there was an apparent reason [for

    an artisan of ordinary skill] to combine [at the time of the invention] the known

    elements in the fashion claimed by the patent at issue." KSR, 550 U.S. at 418.

    "The analysis is objective." Id. at 406. Thus, a court must determine whether an


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    artisan of ordinary skill "would have had reason to combine the teaching of the

    prior art references to achieve the claimed invention, and ... would have had a

    reasonable expectation of success [in] doing so." In re Cyclobenzaprine, 676 F .3d

    at 1069.

           The party challenging the patent's validity bears the burden of proving

    obviousness by clear and convincing evidence. Id. at 1068-69. In weighing the

    Graham factors to decide whether the party has met that burden, the district court

    must be guided by common sense. Wyers v. Master Lock Co., 616 F.3d 1231,

    1238 (Fed. Cir. 2010). Indeed, "the legal determination of obviousness may

    include recourse to logic, judgment, and common sense, in lieu of expert

    testimony." Id. at 1239. In KSR, the Supreme Court warned lower courts to avoid

    "[r]igid preventative rules that deny factfinders recourse to common sense" and to

    employ instead "an expansive and flexible approach" under the Graham

    framework. KSR, 550 U.S. at 415,421. Thus, the district court may "reorder[] in

    any particular case" the "sequence" in which it considers the Graham factors. Id.

    at 407. And although a court should consider carefully the published prior art,

    "[t]he obviousness analysis cannot be confined by ... overemphasis on the

    importance of published articles and the explicit content of issued patents." Id. at

    419.




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          "[A]ny need or problem known in the field of endeavor at the time of the

    invention and addressed by the patent can provide a reason for combining the

    elements in the manner claimed." Id. at 420. And "[t]he combination of familiar

    elements according to known methods is likely to be obvious when it does no more

    than yield predictable results." Id. at 416. "[T]he fact that a combination was

    obvious to try might show that it was obvious under§ 103." Id. at 421. But a

    combination is obvious to try only "[w]hen there is a design need or market

    pressure to solve a problem and there are a finite number of identified, predictable

    solutions" in the prior art at the time of the invention. Id. And the court must also

    be mindful that "when the prior art teaches away from combining certain known

    elements, discovery of a successful means of combining them is more likely to be

    nonobvious." Id. at 416.

          B.     Anticipation

          An asserted patent claim is invalid under § 102 of the Patent Act as

    anticipated if the accused infringer presents clear and convincing evidence that a

    single prior art reference disclosed, either expressly or inherently, each limitation

    of the claim. Brassica Protection Prods. LLC v. Sunrise Farms (In re Cruciferous

    Sprout Litig.), 301 F.3d 1343, 1349 (Fed. Cir. 2002)..




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   IV.    ANALYSIS

          Alvogen contends that all the asserted claims are invalid as obvious and that

    some of the asserted claims of the #866 and #843 patents are anticipated.

          A.    Obviousness
          Alvogen advances distinct theories for the obviousness of the #866 and #843

    patents and for the obviousness of the #539 patent. Alvogen argues that claims 3

    and 10 of the #866 patent and claims 8, 9, and 20 of the #843 patent are invalid

    because it would have been obvious to utilize buprenorphine in a two-layer

    mucoadhesive device for transmucosal delivery of drugs and because it would have

    been obvious to buffer the mucoadhesive layer to the claimed pH range since that

    range is optimal for delivering buprenorphine. D.I. 258 at 28. Alvogen

    additionally argues that claims 4 and 5 of the #866 patent are invalid because,

    except for obvious pharmacokinetic properties, they are broader than asserted

    claim 3. D.I. 248 at 38-40.

          For the #539 patent, Alvogen argues that claim 9 is invalid for obviousness

    because the claimed pH range for the backing layer is inherently disclosed in the

    prior art. D.I. 258 at 43-45. Alvogen argues that claim 20 is obvious because, in

    addition to buffering the backing layer, the only other previously undisclosed

    limitations are obvious pharmacological properties. D.I. 258 at 46-50.




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                 1.     Definition of the Artisan of Ordinary Skill in the Art

          The parties offer different definitions of an artisan of ordinary skill in the

    art), but BDSI agrees that my choice of definition does not make a difference in

    this case. Tr. 722:1-4; D.I. 260 ,r DFF 5. Therefore, I adopt Alvogen's proposed

    definition, and find that an artisan of ordinary skill would have a bachelor's degree

    in pharmaceutical sciences, chemistry or related field, plus three to five years of

    relevant experience in developing transmucosal dosage forms. Alternatively, an

    artisan of ordinary skill would have a Ph.D. in pharmaceutical sciences, chemistry,

    or a related field and slightly less practical experience. Tr. 87 :5-21.

                 2.     Obviousness of the #866 and #843 Patents

                        a.     Findings of Fact

                               1)    Relevant Chemical and Pharmacological
                                     Concepts

          When formulating a drug, relevant properties of the active ingredient include

    solubility (the ability of the molecule to dissolve) and absorption (the tendency of

    the drug to be absorbed into the body). Uptake is another term for the absorption

    of a drug from a device into the body. Tr. 175:1-2. Buprenorphine has low

    solubility and high uptake. Tr. 700:22-25.

          The chemical properties of some compounds, including Buprenorphine, are

    sensitive to pH. pH is a measure of acidity and basicity: the lower the pH of a




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    solution the more acidic the solution is and the higher the pH of a solution the

    more basic it is. The pH of pure water is 7, and thus that pH is deemed neutral.

    Lemon juice is acidic with a pH around 2, and bleach is basic with a pH around 13.

    Tr. 146:18-147:6. Buffers are solutions that resist pH change upon the addition of

    acids and bases. Buffers are created with buffering agents, which are pairs of a

    weak acid or base and its corresponding conjugate base or acid, for example citric

    acid and sodium citrate. Tr. 153:5-81; Tr. 694:18-20.

          The pH of the surrounding environment influences the electrical charge of

    buprenorphine. At acidic pHs, below roughly 6.5, nearly 100% of buprenorphine

    is positively charged. Tr. 12:12-14. An artisan of ordinary skill can easily

    calculate the portion of a compound that is in a particular ionization state at a given

    pH using a formula called the Henderson-Hasselbach equation. Tr. 163: 18-164:4,

    795 :22-796: 12.

          The electrical charge of a drug impacts the solubility of the active ingredient.

    Molecules generally dissolve more easily in either aqueous solutions or solutions

    of oils and fats, which chemical artisans call lipids. Molecules that are soluble in

    lipids are deemed lipophilic, whereas molecules that dissolve in aqueous solutions

    are hydrophilic. Lipophilicity can be characterized by measuring a compound's

    partition coefficient; a higher partition coefficient indicates greater lipophilicity.

    Tr. 791:2-7, 792:13-18, 793:16-794:25. Neutrally charged molecules are


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   typically lipophilic. Tr. 731: 1-7. However, these trends are not universal; the

    chemical properties of a molecule are determined by the totality of its structure.

    Crucially, buprenorphine is lipophilic even when ionized. Tr. 98:8-10; DTX-165

    at 5.

            Whether an active ingredient is ionized also effects how well the drug is

    absorbed into the body. The body's cells are surrounded by a membrane

    consisting of a phospholipid bilayer. Lipophilic molecules pass through this

    bilayer more easily than hydrophilic molecules, and thus lipophilicity is associated

    with higher absorption. As a result, the neutrally charged form of a compound is

    usually more readily absorbed into the body than a charged form of the compound.

    Tr. 782:12-784:4. This trend is called the pH partition theory or pH partition

    hypothesis. Tr. 795: 1-9.

            When a drug is absorbed, not all of the drug actually reaches the target

    tissue. The fraction of the active ingredient that reaches the target tissue intact is

    the bioavailability of the drug formulation. For buprenorphine, bioavailability is

    measured based on the portion of the opioid that reaches the blood plasma. When

    a drug is delivered orally, such as with a pill or a tablet, it goes through first-pass

    metabolism before reaching the bloodstream. In first-pass metabolism, drugs are

    processed by the liver where they are broken down into non-therapeutically active




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   metabolites. Tr. 93:21-94:9. First-pass metabolism and low absorption can both

    lead to a low bioavailability.

          Several of the asserted claims include phannacokinetic properties.

    Phannacokinetics is, roughly speaking, the study of how drugs are absorbed and

    processed by the body. Tr. 322:5-10. Pharmacokinetic properties depend on the

    drug, device, and dose of the drug. Tr. 325:17-19. The properties at issue in this

    case are the time it takes from administration for the drug to have a measurable

    concentration in the blood (Tfirst), Tr. 327: 13-19, the length of time a clinically

    effective plasma concentration is maintained, and the maximum blood plasma

    concentration of a drug following administration (Cmax), Tr. 325:9-15. The steady

    state Cmax is the Cmax that is consistently obtained after multiple administrations of a

    drug. Tr. 327:4-7.

                               2)     Content of the Asserted Claims

          The asserted claims of the #866 and #843 patents are directed to devices for

    administering buprenorphine and methods using those same devices. Claim 10

    (which depends from claim 8) of the #866 patent claims a "mucoadhesive

    bioerodable drug delivery device suitable for direct transmucosal administration of

    buprenorphine to a subject" comprising four elements: (1) "a bioerodable

    mucoadhesive layer comprising an effective amount of buprenorphine disposed in

    a polymeric diffusion environment," (2) "wherein the polymeric diffusion


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    environment is a buffered environment," (3) in which "the pH of the polymeric

    diffusion environment is between about 4.5 and about 5," and (4) "a barrier layer

    comprising a polymeric barrier environment disposed adjacent to the

    mucoadhesive layer to provide a unidirectional gradient upon application to a

    mucosal surface for the rapid and efficient delivery ofbuprenorphine." Claim 3

    (which depends from claim 1) covers a "method for providing enhanced uptake of

    buprenorphine to a subject by direct transmucosal delivery ofbuprenorphine"

    where buprenorphine is administered to a subject by applying the device claimed

    in claim 10 "to an oral mucosal surface of the subject" where "the unidirectional

    gradient delivers buprenorphine across the buffered polymeric diffusion

    environment upon application to the mucosa! surface." Claims 4 and 5 (which also

    depend from claim 1) cover the same method as claim 3 except that they add

    certain pharmacokinetic properties as limitations and they allow the polymeric

    diffusion environment to be buffered to a pH between about 4 and about 6.

    Specifically, claim 4 requires "a first quantifiable plasma concentration of

    buprenorphine is observed at about 45 minutes" and claim 5 requires "an effective

    plasma concentration ofbuprenorphine is maintained for at least 4 hours."

          The asserted claims of the #843 patent cover methods and devices "for

    delivering buprenorphine to humans." #843 patent claims 1 (27:9), 13 (27:54).

    Claim 20 (which depends from claim 13) covers a device that comprises ( 1) "a


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   bioerodible mucoadhesive layer comprising buprenorphine disposed in a polymeric

    diffusion environment" (2) "wherein the polymeric diffusion environment has a pH

   buffered to between about 4 to about 6" and (3) "a polymeric barrier environment

    disposed adjacent to the mucoadhesive layer, and wherein a unidirectional

    diffusion gradient ofbuprenorphine is provided upon application to a buccal

    surface of a human." Claims 8 and 9 (which depend ultimately from claim 1)

    cover administering the device claimed in claim 20 with some variations in the

    claimed pH range and additional limitations. Claim 8 requires that the polymeric

    diffusion environment is buffered to a pH between about 4 and about 6. Claim 9

   requires that the polymeric diffusion environment is buffered to a pH between

    about 4 and about 7.5 and further requires that the polymeric diffusion

    environment comprises at least one film-forming water-erodible adhesive polymer

    and at least one bioadhesive polymer.

                              3)    Content of the Prior Art

          Alvogen identified in their briefing nine prior art references relevant to the

    obviousness of the #866 and #843 patents.

                                    a)      Tapolsky (DTX-173)

          Tapolsky is the application that became the #019 patent. DTX-173. It

    teaches a two-layer device for delivering a pharmaceutical to the mucosal surface.

    DTX-173 at abstract. The two layers are an adhesive layer that attaches to the



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    mucosal surface and a backing layer. Tr. 106:20-107:3; DTX-173             ,r 30.   Tapolsky

    also suggests using a third layer to create a unidirectional gradient to force the drug

    towards the mucosa. Tr. 109:15-21; DTX-173       ,r 60.
          Tapolsky does not use the term BEMA, but Dr. Michniak-Kohn, Alvogen's

    expert on transmucosal drug delivery, explained at trial that Belbuca® is built on

    the platform technology disclosed in Tapolsky. Tr. 117:6--20. Tapolsky teaches

    making an adhesive layer with a water erodible polymer, such as hydroxyethyl

    cellulose or hydroxypropyl cellulose, and a bioadhesive polymer, such as sodium

    carboxymethyl cellulose. Tr. 107:22-108:18; DTX-173          ,r,r 31-32.   The backing

    layer is made with a water erodible, film-forming polymer such as hydroxyethyl

    cellulose or hydroxypropyl cellulose. Tr. 109:7-11; DTX-173         ,r 35.
          Tapolsky teaches that butorphanol, an opioid, may be used with the

    disclosed device. Tr. 684:12-18; DTX-173       ,r 53.   Tapolsky does not use the

    words "polymeric diffusion environment" or teach buffering the layers of the

    device to a particular pH. Tr. 262:3-6.

          Tapolsky disclosed experimental pharmacokinetic results for experiments in

    dogs using testosterone and albuterol sulfate as the chemicals of interest. Tr.

    346:4-14; DTX-173 ,r 128. Tapolsky reported measurable albuterol sulfate levels

    for over four hours. Tr. 346:4-14; DTX-173     ,r 139, Table 5.   Tapolsky does not




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    provide any human pharmacokinetic data or any pharmacokinetic data for

    buprenorphine. Tr. 262:15-18.

                                    b)     Moro (DTX-178)

          Moro is a patent application titled "Mucoadhesive Erodable Drug Delivery

    Device for Controlled Administration of Pharmaceuticals and Other Active

    Compounds." DTX-178. It was published in March 2003. DTX-178 at 1. Moro

    discloses a multilayer, bioerodable mucosal drug-delivery device with a water-

    soluble adhesive layer and a non-adhesive bioerodaible backing layer. Tr. 118:14-

    119:17; DTX-178 at abstract, ,r 35. Moro explains that a pharmaceutical can be

    placed in either or both layers. Tr. 118:18-19; DTX-178 at abstract. Moro

    suggests hydroxyethyl cellulose and hydroxypropyl cellulose as water soluble

    polymers and sodium carboxymethyl cellulose as a bioadhesive polymer. Tr.

    119:2-17; DTX-178 ,r,r 41, 43. Thus, Moro discloses a bioerdable drug delivery

    device that is very similar to the Tapolsky device and to the device claimed in the

    asserted patents. Tr. 118:16-22. Moro lists numerous active ingredients that could

    be used with this device, including buprenorphine. Tr. 118:8-11; DTX-178 ,r,r 48,

    64.

                                    c)     Johnson (DTX-165)

          Johnson is a 2005 review article by Rolley E. Johnson, Paul J. Fudala, and

    Richard Payne titled "Buprenorphine: Considerations for Pain Management."



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    DTX-165. Johnson reviews what artisans of ordinary skill knew about

    buprenorphine at the time of publication. Tr. 96:13-98:1; DTX-165 at 1.

    Buprenorphine was recognized as an extremely lipophilic compound. Tr. 98:8-12;

    DTX-165 at 5. Johnson also explains that sublingual delivery avoids first-pass

    metabolism. DTX-165 at 2.

                                    d)     Cassidy (JTX-248)

          Cassidy is a 1993 article by J.P. Cassidy, N .M. Landzert and E. Quandros,

    titled "Controlled Buccal Delivery ofBuprenorphine." JTX-248. Cassidy teaches

    that buccal drug delivery devices avoid first-pass metabolism. Tr 95:10-13; JTX-

    248 at 1. Cassidy further teaches that the solubility ofbuprenorphine varies with

    pH. Tr. 147:17-23. Figure 1 of Cassidy shows that the solubility of

    buprenorphine hydrochloride increases as pH decreases, with the maximum

    reported solubility between a pH of about 4 and 5. Tr. 150:12-18; JTX-248 at 4,

    Fig. 1. The solubility ofbuprenorphine in all measurements at a pH lower than five

    was considerably greater than the solubility of buprenorphine in all measurements

    at a pH greater than five. JTX-248 at Fig. 1. Cassidy reports a slightly reduced

    solubility in the physiological TPS buffer at a pH of 4.2 relative to a phosphate

    buffer at the same pH. JTX-248 at 4. The measured solubility ofbuprenorphine in

    the TPS buffer at a pH of 4.2 was similar to the measured solubility in the TPS

    buffer solutions at other pH values less than five. JTX-248 at Fig. 1. To the extent


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    this data point is an outlier it may be explained because the TPS buffer has a lower

    buffering capacity at this pH. Tr. 149:24-150:9.

                                     e)     Bullingham I {DTX-077)

          Bullingham I is the 1981 academic publication "Sublingual Buprenorphine

    Used Postoperatively: Clinical Observations and Preliminary Pharmacokinetic

    Analysis" by R.E.S. Bullingham et al. DTX-077. Bullingham I investigated the

    pharmacokinetics ofbuprenorphine administered via sublingual tablets. Tr. 91:5-

    19; DTX-077 at 2. Subjects received buprenorphine sublingually only after

    receiving buprenorphine intravenously earlier in the day. Tr. 404:23-404:22;

    DTX-077 at 2. Bullingham attempted to account for the intravenous

    buprenorphine by reducing the measured buprenorphine amounts based on prior

    research about the pharmacokinetics of buprenorphine when delivered

    intravenously. Tr. 812:14-814:4; DTX-077 at 3. Bullingham I states that "the

    suitability of [buprenorphine] for [sub lingual administration] is suggested by its

    high lipophilicity, high first pass effect, long duration of action and low addition

    potential." DTX-077 at 1; see also Tr. 91:16-19.

                                     f)     Suboxone® Tablets

          The FDA approved Suboxone® sublingual tablets with buprenorphine as the

    active ingredient in 2002. Tr. 480:12-17; JTX-471 at 3, Fig. 1. Suboxone® is

    indicated for the treatment of opioid dependence. DTX-172 at 7.



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          The parties debate the pH of Suboxone®. Among its inactive ingredients,

    Suboxone® includes citric acid and sodium citrate. Tr. 694:12-23; DTX-172 at 2.

    Citric acid and sodium citrate can be used to buffer a solution to a pH between four

    and six. Tr. 174:19-11, 671:16-23, 733:20-23, 804:23-805:2. In 2011, Dr. Finn,

    an inventor of the asserted patents, told the Patent Office that the pH of Suboxone

    was "NIA." Tr. 697:24-5; JTX-365 at 4. Later in 2014, Dr. Reitman, a

    pharmaceutical formulations expert, reported to the Patent Trial and Appeal Board

    on behalf of BDSI, which was the petitioner an inter partes review proceeding

    involving Suboxone®, that when a Suboxone® tablet was dissolved in either 1.5 or

    3.0 mL of deionized water the resulting pH was 3.5. Tr. 163:20-162:3; DTX-365

    ,I 5. Dr. Michniak Kohn testified that the only source for a pH of Suboxone® was

    the Reitman declaration. Tr. 154:11-155:3.

                                    g)     Weinberg (JTX-249)

          Weinberg, an article published in 1988 with the title "Sublingual Absorption

    of Selected Opioid Analgesics" teaches that buprenorphine has a higher partition

    coefficient than other common opioids. Tr. 137:20-138:13; JTX-249 at 2, Table 1.

    Weinberg also teaches that buprenorphine is well-absorbed even when ionized and

    that its lipophilicity at more basic pHs could not be measured because of poor

    solubility at those pHs. Tr. 170:14-171 :2; JTX-249 at 6.




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                                    h)    Birch {DTX-203)

          Birch is a patent application published in 2005 that teaches aqueous

    buprenorphine solutions buffered to a pH between 3 and 4.8. Tr. 171 :24-172:5;

    DTX-203171. These solutions were designed for intranasal delivery. Tr. 171: 17-

    21; DTX-203 at abstract.

                                    i)    Todd(DTX-174)

          Todd is a European patent application published in 1983. It teaches an

    aqueous buprenorphine solution for sublingual administration. Tr. 173:20-23;

    DTX-174 at abstract. Todd discloses a pharmaceutical solution with

    buprenorphine dissolved in 20 to 30 percent ethanol and buffered to a pH between

    4.5 and 5.5. Tr. 173:20-23; DTX-174 at 3. This formulation was designed to

    overcome buprenorphine's inadequate solubility in higher pH solutions. Tr.

    653:4-16; DTX-174 at 3. Todd also disclosed that uptake was higher when the

    buprenorphine solution was buffered to a pH of 5 or 6 compared to 4. DTX-174 at

    3. Todd reported that preparing a stable solution with an adequate buprenorphine

    concentration was "very difficult." Tr. 653:1-9; DTX-174 at 3.

                               4)   Mechanism of Action for the Tapolsky Device
          Delivery of buprenorphine using the Tapolsky device requires both the

    dissolution of buprenorphine and the penetration of the drug into the mucosa.

    When the claimed drug delivery device is placed into the mouth it is a solid. Tr.
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    701: 11-12. The mucoadhesive layer absorbs moisture from the mucosa, allowing

    the device to adhere to the mucosa! surface. Tr. 132:3-13. To be absorbed into the

    mucosa, the buprenorphine must dissolve so it is no longer trapped in the

    mucoadhesive layer's initially solid polymeric environment and is able to pass

    through cellular membranes into the body. Tr. 132:3-13. Dr. Williams, BDSI's

    expert on pharmaceutical formulations, agreed that when the claimed invention is

    placed against the.cheek saliva penetrates the mucoadhesive layer, creating a

    microenvironment in which the molecules of buprenorphine gradually dissolve.

    Tr. 701: 13-702:5.

          Because of the backing layer, once the buprenorphine dissolves it largely

    flows into the cheek's mucosa} tissue. Tr. 587:12-18. Dr. Williams testified that

    an artisan of ordinary skill would have understood that the barrier layer in the

    asserted patents "stops or slows the diffusion of the drug out into the oral cavity,"

    thereby creating a "unidirectional gradient so that the drug moves from the

    polymeric diffusion environment directly into the mucosa of the subject." Tr.

    587:12-18. While Tapolsky describes using a third layer to achieve unidirectional

    release, an artisan of ordinary skill would have understood based on Tapolsky that

    a single backing layer could provide a unidirectional gradient. Tr. 586:21-587:19;

    DTX-173 ,r 58. Moro also teaches the use of a backing layer to improve

    bioavailability and create unidirectional delivery. Tr. 120:1-7; DTX-178 iJ 46.


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                               5)        Use of Buprenorphine in the Tapolsky Device

          An artisan of ordinary skill would have been motivated to use buprenorphine

    in the drug-delivery platform disclosed by Tapolsky (or the similar platform

    disclosed by Moro). Tapolsky teaches a method for buccal delivery of

    pharmaceuticals that produces excellent bioavailability, fast onset, and sustained

    delivery. DTX-173    ,r,r 13, 131.   Tapolsky explains that the disclosed delivery

    device was appropriate for use with numerous pharmaceuticals. DTX-173          ,r,r 46-
    53.

          Buprenorphine was known in the prior art as a potent opioid analgesic. Tr.

    91 : 13-19, 94 :23-25; JTX-248 at 1, 9. Prior references, including Cassidy and

    Bullingham I, taught that buprenorphine had a high first pass effect and thus

    alternative delivery methods, such as transmucosal delivery, could offer better

    bioavailability than oral formulations (e.g., a pill or tablet). Tr. 94:21-95: 13;

    DTX-248 at 1; DTX-077 at 1. An artisan of ordinary skill would have been

    motivated to combine buprenorphine with Tapolsky, because she would have

    recognized that delivering buprenorphine in the Tapolsky device could reduce first

    pass effects while also improving bioavailability.

          An artisan of ordinary skill also would have had a reasonable likelihood of

    success in delivering buprenorphine with the Tapolsky device. Tapolsky and Moro

    teach the use of opioids-including buprenorphine in the case of Moro--in buccal


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    drug delivery devices. Tr. 111:6-7, 118:8-16; DTX-173 ,r 53; DTX-178 ,r,r 35, 64.

    And the prior work on buprenorphine disclosed in Todd, Weinberg, and

    Bullingham showed the drug was amenable to delivery through the mouth's

    mucosa! tissue. Tr. 91: 5-19, 170:23-171:2, 173:18-174:6; DTX-077 at 1, 5;

    DTX-174 at 1; JTX-249 at 6. Formulating a version of the Tapolsky drug delivery

    device with an effective amount ofbuprenorphine would have been a matter of

    routine skill. Tr.134:3-9. Considering this information together, an artisan of

    ordinary skill would have understood that buprenorphine was suitable for use in

    the Tapolsky drug-delivery device and would have had a reasonable expectation of

    successfully using the Tapolsky device to deliver buprenorphine. Tr. 121 :9-17,

    130:7-20.

                             6)     Buffering the Mucoadhesive Layer to the
                                    Claimed pH

          In creating a bilayer mucoadhesive film with buprenorphine, an artisan of

    ordinary skill in the art would have buffered the mucoadhesive layer to the pH

    range that she expects to maximize bioavailability. To do so, the artisan would

    considered both the solubility and absorption of buprenorphine.

          Because a drug must dissolve in order to be absorbed into the mucosa, an

    artisian of ordinary skill would have been motivated to use the buprenorphine

    solubility information reported in Cassidy in formulating a buccal drug delivery

    device with buprenorphine. Cassidy discloses that the solubility of buprenorphine

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    is highly pH dependent and is substantially greater below a pH of 5. Tr. 146:6-12,

    147:17-23, 150:15-17; JTX-248 at 4, Fig. 1. Even if solubility depends on the

    specific solution as BDSI argues, see D.I. 260 ,r PFF51 (citing Tr. 624:12-16,

    706:5-9), Cassidy would have provided an artisan of ordinary skill reason to

    expect greater solubility when the pH of the local environment around the

    buprenorphine is below 5, Tr. 153:2-153:20; JTX-248 at 4. An artisan of ordinary

    skill, therefore, would have been motivated to formulate the drug delivery

    environment for buprenorphine, that is the mucoadhesive layer, to have a pH of 4

    to 5, which Cassidy identifies as the pH range for maximum buprenorphine

    solubility. Tr. 150:15-17; JTX-248 at 4, Fig. 1.

          And based on the good absorption reported in Todd, an artisan of ordinary

    skill would have had a reasonable expectation of observing good absorption of

    buprenorphine in the same pH range using the Tapolsky device. Tr. 175:16-25;

    200:22-201:12; Tr. 671:16-672:12. An artisan of ordinary skill would have

    further expected success in formulating buprenorphine at this pH range because as

    of 2006 there were no examples in the prior art of buprenorphine formulations with

    a pH greater than 6.5, but there were several examples of formulations at acidic




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    pHs. Tr. 176:6-9, 202:1-4; DTX-174 at 3 (using a pH range of 4.5-5.5); DTX-

    203 at ,r 71 (using a pH range of 3 to 4.8); JTX-249 at 1 (using a pH of 6.5). 2

          BDSI argues that an artisan would not have been motivated to use the

    claimed pH range, because an artisan would understand that below a pH of 6

    Buprenorphine is nearly 100 percent ionized and that drugs are better absorbed

    when not ionized. D.I. 261 at 31; Tr. 672:3-7; Tr. 798:6-20 (explaining the pH

    partition hypothesis). But an artisan of ordinary skill would have readily

    understood that buprenorphine behaves differently than a generic ionic compound.

    It is undisputed that the chemical properties of compounds vary based on their

    unique composition and molecular arrangement. Tr. 254:17-23. 3 And Todd

    explains that buprenorphine has good uptake in the pH range of 4 to 6-a range in

    which buprenorphine is ionized. Tr. 672:8-12. Johnson and Bullingham I further

    teach that buprenorphine is extremely lipophilic. DTX-165 at 5; DTX-077 at 1.



    2The parties dispute how to measure the pH of Suboxone® and whether
    Suboxone® is buffered to a pH of 3.5. D.I. 260 ,r DFF93. However, there was no
    suggestion at trial that Suboxone® is buffered to a pH greater than 6.5 or that any
    prior art before 2006 discloses a pH for suboxone® above 6.5.
    3In arguing that it would have been nonobvious to use buprenorphine in a bilayer
    mucoadhesive device, BDSI argues that the "the evidence at trial established that
    all opioids do not work the same way in solid film devices." D.I. 261 at 27. But in
    arguing that that an artisan of ordinary skill would not have been motivated to
    buffer the mucoadhesive layer to the claimed pH ranges, BDSI argues that "all ...
    weakly basic compounds such as fentanyl [and buprenorphine] were expected to
    behave the same." D.I. 261 at 32. BDSI cannot have it both ways.

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    An artisan of ordinary skill would have known that lipophilic compounds,

    including buprenorphine, are more easily absorbed into the body. Tr. 783:22-

    784:4. The artisan would have been motivated to use the claimed pH range

    because of its solubility properties and would have understood that buprenorphine

    is sufficiently absorbed at these pH ranges to have a reasonable expectation of

    success.

          I recognize that Dr. Davies, BDSI' s chemistry expert, testified that an artisan

    of ordinary skill "would expect the most efficient uptake [of buprenorphine] to be

    ... between [a pH of] about 6 and 10. Between about 8 and 10." Tr. 741:17-18.

    Dr. Davies further testified that "significant" amounts of unionized buprenorphine

    exist in the pH range of 8 to 10. Tr. 741:20-21. But crucially this testimony was

    conditioned on buprenorphine already being solubilized. The question that Dr.

    Davies provided the quoted answer to was "In your opinion, would a person of

    ordinary skill in the art have expected, based on the prior art including Todd, that if

    any solubility problems of buprenorphine could be overcome, that buprenorphine

    uptake would be most efficient at higher pH values?" Tr. 741: 12-16 (emphasis

    added). Yet, "bioavailability depends both on solubility and permeability." Tr.

    793 :8-9. As of 2006 the prior art taught that buprenorphine needed to be

    formulated at pHs below 6.5 to dissolve and that buprenorphine's solubility is




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    maximized in solutions with a pH below 5. Accordingly, I do not find Dr. Davis'

    testimony on this point probative.

                              7)    Pharmacokinetic Properties

          Alvogen's phannacokinetics expert, Dr. Shafer, explained that

    phannacokinetic properties are specific to a particular delivery device, drug, and

    dose combination. Tr.328:6-12. Thus, the pharmacokinetic properties of a

    particular delivery device, drug, and dose combination do not necessarily suggest

    the properties of other combinations.

          Alvogen has not identified any dosage that an artisan of ordinary skill would

    have used when formulating a Tapolsky device with buprenorphine. Although an

    artisan of ordinary skill might have been motivated to formulate a device for

    transmucosal delivery of buprenorphine in general, without a specific device, drug,

    and dose combination there cannot be any inherent phannacokinetic properties. 4

          Additionally, there would have been no motivation for an artisan of ordinary

    skill to achieve the claimed phannacokinetic results. Alvogen itself argues that



    4 Alvogen waived the argument that the phannacokinetic properties are inherent in
    Tapolsky alone by not raising that contention before trial. See Hr'g, June 8, 2021
    (granting motion to strike). Accordingly, I only consider the inherency argument
    with respect to the obviousness combination ofTapolsky (or Moro), Todd, and
    Bullingham I, which was disclosed prior to trial. But as explained below, there
    was also no motivation to combine Bullingham I with other references to obtain
    the claimed pharmacokinetic properties, and thus the inherency argument is
    incomplete on that basis as well.

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    "the parameters of claim 4 and 5 are not meaningful." D.I. 258 at 40; see also .

    And Dr. Shafer, testified that "[t]he FDA does not consider [time of first plasma

    concentration] a useful or interesting parameter and neither do people skilled in the

    art of pharmacokinetics ...." Tr. 329:25-330:3. Even assuming that the prior art

    could have taught an artisan of ordinary skill how to achieve the claimed

    pharmacokinetic properties with buprenorphine in a mucoadhesive device, an

    artisan of ordinary skill would have been indifferent to these claimed

    pharmacokinetic properties and would have had no motivation to achieve them.

                              8)    Secondary Considerations

          BDSI offered at trial evidence of three secondary considerations: long-felt

    need, unexpected results, and teaching away. I did not find this evidence to be

    probative of nonobviousness for the following reasons.

                                    a)     Long-Felt, Unmet Need

          Long-felt but unresolved need is evidence of nonobviousness, because "it is

    reasonable to infer that the need would have not persisted had the solution been

    obvious." WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1332 (Fed. Cir. 2016). In

    assessing the presence or absence of long-felt need, I consider circumstances as

    they existed at the filing date of the invention. Proctor & Gamble v. Teva Pharms.

    USA Inc., 566 F.3d 989, 988 (Fed. Cir. 2009). Whether a need is long felt is based




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    on considering when the problem was identified and when there is evidence of

    efforts to solve that problem. WBIP, 829 F.3d at 1334.

          As of the 2006 effective filing date of the #866 and #843 patents there was at

    least some need for an opioid for chronic pain with reduced side effects and lower

    risk of abuse, but the record evidence does not show this need was long felt. Tr.

    874:18-23, Tr. 898:17-24. The use of opioids for chronic pain became more

    accepted in the 1990s and 2000s; opioid sales increased rapidly over the 2000s,

    peaking in 2010. JTX-3000 at 2; JTX-403 at 1-2, Fig. 1. The evidence presented

    at trial shows that as of2006 there was a growing awareness of the need for

    alternative opioids and that the understanding in the profession was evolving. Tr.

    869:9-20, 935:12-22. The fact that there were unmet needs may only be clear

    thanks to the benefit of hindsight. The only evidence BDSI provided that artisans

    were aware of limitations with available prescription opioids before 2006 was the

    testimony of Dr. Rauck, BDSI's pain management medical expert, that artisans of

    ordinary skill "probably didn't know about [the opioid crises] as much until maybe

    the early part of the 2000s that I recall, and I think what the documents would

    show as well." Tr. 936:20-22. But the earliest piece of documentary evidence

    produced at trial discussing opioid poisonings was published in September 2009.

    JTX-410. This evidence is not sufficient to show clearly and convincingly that

    Belbuca® answered a long felt, but unresolved need in medicine.


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          BDSI identified several possible benefits of Belbuca® over the prior art.

   See Tr. 548:16-549:12, 881:5-19, 922:5-25. But BDSI did not identify any

    previous unsuccessful attempts to meet the needs satisfied by Belbuca®. No

    concrete evidence presented at trial established when the problems supposedly

    addressed by the asserted patents became recognized or when the first efforts to

    address those problems were. The evidence does not show, at the time of

    invention, that there was a recognized long-felt, unmet need satisfied by the #866

    and #843 patents.

                                    b)    Teaching Away

          BDSI argues that the prior art taught away from using an acidic pH and

    instead taught that using a more basic pH would lead to enhanced uptake. D.I. 261

    at 49. This argument overlaps with Plaintiff's primary argument for

    nonobviousness. According to BDSI's argument, because Buprenorphine is a

    weakly basic compound it is ionized at acidic pHs. Tr. 756:3-5. It was well

    known that chemical compounds are typically more readily absorbed through the

    mucosa! tissue when unionized. Tr. 630:1-6, 796:21-25. However, as I discussed

    above, it was also known that buprenorphine was readily absorbed even when

    ionized and that the challenges from solubility dominated any challenges from

    absorption in formulating drugs with buprenorphine. See supra Part IIl{C)(2)(e).

    While concerns about absorption may have favored a higher pH, the more pressing


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    concern in formulating Belbuca® would have been solubility and the prior art

    taught that a lower pH is favorable in overcoming this challenge. Tr. 153: 12-20,

    198:1-7.

          Additionally, no prior art taught away from using an acidic pH with

    buprenorphine. 5 The highest pH used to deliver buprenorphine in the prior art

    before development of Belbuca® was in Weinberg where buprenorphine was

    delivered in a pH 6.5 solution. JTX-249 at 1, 3, Fig. 1. But at a pH of 6.5, over

    97.87% ofbuprenorphine is ionized, and Weinberg still reported that

    buprenorphine was "absorbed to a very high degree." Tr. 170:5-9, 670:12-14;

    DTX-377; JTX-249 at 6. Rather than suggesting that buprenorphine should be

    delivered in a basic environment, Weinberg shows that an artisan of ordinary skill

    would have had a reasonable expectation of success in obtaining good absorption

    of buprenorphine even in an environment where it is mostly ionized. I conclude


    5 There  is one piece of prior art which seems to suggest the use of a higher pH with
    buprenorphine: Dr. Michniak-Kohn et al.'s book chapter. DTX-355 at 11
    ("[S]tudies conducted with sublingual administration of opioids such as
    buprenorphine, methadone, and fentany 1showed increased absorption with
    increase in pH, where the drug was predominantly present in the unionized form."
    (citing Weinberg (DTX-249)). But the relevant language relies on Weinberg and is
    clearly inconsistent with that reference with respect to Buprenorphine. Weinberg
    did not observe an increase in absorption for buprenorphine when the drug was
    predominantly present in the unionized form. In fact, Weinberg only studied
    buprenorphine at a single pH, which was 6.5 and at which buprenorphine is largely
    ionized. DTX-249 at 6. Weinberg did not study buprenorphine in the unionized
    form because the drug was not soluble in more basic solutions. DTX-249 at 6.

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   therefore that the prior art, when considered as a whole, did not teach away from

   using a lower pH.

                                     c)    Unexpected Results

          An unexpected result can support a finding ofnonobviousness, because it

    suggests that an artisan of ordinary skill would not have been motivated to develop

    an invention or would not have had a reasonable expectation of success. In re

   Soni, 54 F.3d 746, 750 (Fed. Cir. 1995). To suggest nonobviousness, "evidence of

    unexpected results must establish that there is a difference between the results

    obtained and those of the closest prior art, and that the difference would not have

    been expected by one of ordinary skill in the art at the time of the invention."

    Bristol-Myers Squibb Co. v. Teva Pharms. USA, Inc., 752 F.3d 967, 977 (Fed. Cir.

    2014). Additionally, "differences in degree" are less probative than "difference in

    kind." Id.

          BDSI argues that the enhanced uptake of the claimed inventions was

    unexpected and that this supports nonobviousness. D.I. 261 at 53. I find, however,

    that enhanced uptake was not unexpected for the invention claimed in the #866 and

    #843 patents. Tapolsky teaches a method for drug delivery that improves

    bioavailability. DTX-173 ,r 131 ("the pharmaceutical carrier devices of the

    invention yield ... excellent bioavailability"). Improved bioavailability is not only

    a difference in degree rather than kind, but is also the very improvement that would


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    have motivated an artisan of ordinary skill to combine buprenorphine with the

    Tapolsky platform in the first place. And it is not surprising that increased

    bioavailability is observed when the mucoadhesive layer is buffered to the pH

   range in which buprenorphine is most soluble according to Cassidy. Tr. 183: 10-

    17. Rather than suggesting that the claimed invention was nonobvious, the

    improved bioavailability merely illustrates why an artisan of ordinary skill would

    have been motivated to combine the prior art. Cf Hoffmann-La Roche Inc. v.

   Apotex Inc., 748 F.3d 1326, 1334 (Fed. Cir. 2014) ("The evidence of superior

    efficacy does nothing to undercut the showing that there was a reasonable

    expectation of success ... , even if the level of success may have turned out to be

    somewhat greater than would have been expected.").

          BDSI relies on Orexo AB v. Actavis Elizabeth LLC, 903 F.3d 1265 (Fed. Cir.

    2018). In Orexo, the Federal Circuit found that the district court improperly

    discounted the claimed formulation's 66% improvement "in the context of th[at]

    invention." Id. at 1274. The Federal Circuit found that the 66% improvement

    should be treated as a difference of kind rather than a difference of degree. Id. at

    1274. However, despite involving the same active ingredient, the facts of that case

    are quite different. In Orexo, the invention used the same route of administration,

    sublingual tablets, as the prior art. Id. at 1268. The novel aspect of the invention

    was using citric acid as a carrier particle, and no prior art suggested that critic acid


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    would be an effective carrier particle for buprenorphine. Id. at 1272-73. Because

    the prior art did not suggest that the claimed invention would have improved

    bioavailability, the significantly improved bioavailability was surprising. Id. at

    1273. But here the prior art is exactly the opposite. Tapolsky teaches a way to

    improve bioavailability, and so improved bioavailability when using the Tapolsky

    platform is expected rather than surprising.

          BDSI also cites expert testimony at trial that the bioavailability of the

    claimed inventions was unexpected. But the cited testimony is not indicative of

    nonobviousness. Dr. Taft, BDSI's expert in pharmacokinetics, testified that the

    bioavailability relative to suboxone was "unexpected ... based on the pH partition

    theory." Tr. 802:20-24. But, as discussed above, it was known that buprenorphine

    is very lipophilic and that the general predictions of the pH partition theory do not

    provide a good description of the specific molecule at issue in this case. Thus, this

    testimony does not establish that the results were unexpected.

                        b.    Conclusions of Law

                              1)     The Tapolsky Device
          The structural elements of the claimed devices are ( 1) a bioerodable

    mucoadhesive layer with a pharmaceutical disposed in a polymeric diffusion and

    (2) a polymeric barrier environment disposed adjacent to the mucoadhesive layer

    to provide a unidirectional gradient. Claim 9 of the #843 patent further requires



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   that the polymeric diffusion environment has at least one film-forming water

    erodible adhesive polymer and at least one bioadhesive polymer.

          These elements are taught directly by Tapolsky. Tapolsky teaches the use of

    a polymeric adhesive layer with a film-forming water erodible polymer and a

    bioadhesive polymer and also teaches the use of a polymeric non-adhesive backing

    layer. DTX-173   iiiI 31-32, 35.   Indeed, Tapolsky teaches that the layers can be

    made with the very polymers that are used in Belbuca®. Tr. 108:7-10, 19-21;

    JTX-233 at 23.

                              2)       Use of Buprenorphine in a Tapolsky Device
          I have already found as a factual matter that Alvogen has shown by clear and

    convincing evidence that an artisan of ordinary skill would have been motivated to

    use buprenorphine in the Tapolsky drug delivery device based on Tapolsky and

    Todd. I also found as a factual matter that Todd would have given the artisan of

    ordinary skill a reasonable expectation of success in making this combination.

    Based on these findings and because the secondary considerations are not

    probative, I conclude that it was obvious to use buprenorphine in the Tapolsky

    device.

                              3)       Polymeric Diffusion Environment Buffered to
                                       the Claimed pH Ranges
          Given that it would have been obvious for an artisan of ordinary skill to use

    the Tapolsky drug-delivery device with buprenorphine, the next question is

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    whether it would have also been obvious to buffer the mucoadhesive layer to the

    claimed pH ranges when using buprenorphine in the Tapolsky device. I find that it

    would have been.

          As I explained above, an artisan of ordinary skill would have been motivated

    based on Todd in light of the prior art to buffer the local environment in the

    Tapolsky drug-delivery device to a pH in the claimed ranges, including the

    narrowest claimed range of about 4.5 to about 5. This is because the artisan of

    ordinary skill would have understood that buprenorphine is only soluble in

    solutions that are sufficiently acidic to ionize buprenorphine, but that once

    dissolved buprenorphine is easily absorbed into the body.

          Furthermore, the artisan of ordinary skill would have had a reasonable

    expectation of success. Buprenorphine is suitable for use in buccal delivery

    devices and is readily absorbed through the mucosa! tissue once dissolved. Tr.

    671:16-672:12, 175:16-25. This expectation would have been reinforced because

    the other buprenorphine drugs in the prior art were also buffered to the same or

    similar pH ranges. Tr. 176:6-9, 202:1-4; DTX-174 at 3 (using a pH range of 4.5-

    5.5); DTX-203 ,I 71 (using a pH range of3 to 4.8). The use of buffers would have

    been familiar to someone having skill in the art. Tr. 153:3-9, 200:22-201:5.

          Considering this information together, an artisan of ordinary skill would

    have been motivated to formulate a Tapolsky device with the mucoadhesive layer


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    buffered to the claimed pH ranges of about 4.5 to about 5, about 4.5 to about 5.5,

    about 4 to about 6, and about 4 to 7 .5. The artisan of ordinary skill also would

    have had a reasonable expectation of success in doing so. Again the secondary

    considerations were not probative and do not impact this obviousness analysis.

          For these reasons, I find that the combination of a biodegradable

    mucoadhesive layer containing buprenorphine in a polymeric diffusion

    environment buffered to the claim pH ranges and a polymeric barrier environment

    that provides a unidectional gradient was obvious. It also would have been

    obvious to use this device in a method for delivering buprenorphine and to use the

    device for delivery in humans. Accordingly, I find that claims 3 and 10 in the

    #866 patent and claims 8, 9, and 20 in the #843 patent are invalid for obviousness.

                              4)     Pharmacokinetic Properties of Claims 4 and 5
                                     of the #866 Patent

          Claim 4 of the #866 patent requires that a first quantifiable plasma

    concentration of buprenorphine is observed at about 45 minutes, and claim 5 of the

    patent requires that an effective plasma concentration of buprenorphine is

    maintained for at least 4 hours. The other limitations of claim 4 and 5 are identical

    to claim 3, except that the pH range covered by claims 4 and 5 is between about 4

    and about 6, which is broader than the pH range in claim 3.

          To show that a pharmacokinetic limitation is obvious the party challenging a

    patent's validity must "demonstrate that a skilled artisan would have been

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    motivated to create a ... formulation of [the claimed pharmaceutical] with the[]

    claimed [pharmacokinetic] characteristics." Tris Pharma, Inc. v. Actavis Labys

   FL, Inc., 755 F. App'x 983, 991 (Fed. Cir. 2019). Alternatively, the challenging

    party can show that the claimed pharmacokinetic properties are inherent in an

    obvious combination. Persion Pharms. LLC v. Alvogen Malta Operations Ltd.,

    945 F.3d 1184, 1190 (Fed. Cir. 2019) ("[A]n obvious formulation cannot become

    nonobvious simply by administering it to a patient and claiming the resulting

    serum concentrations, because to hold otherwise would allow any formulation-no

    matter how obvious-to become patentable merely by testing and claiming an

    inherent property." (internal quotation marks and alterations omitted)). A patent

    claim may be found obvious based on inherent properties only in limited

    circumstances: "inherency renders a claimed limitation obvious only if the

    limitation is necessarily present or is the natural result of the combination of

    elements explicitly disclosed by the prior art." Id. at 1191 (internal quotation

    marks omitted).

           I already found as a matter of fact that the pharmacokinetic properties are

    not inherent in the obvious combination of using buprenorphine in the Tapolsky

    device, because the combination does not include a dosage amount. Additionally, I

    found there was no motivation to achieve the claimed pharmacokinetic properties




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    in the prior art. According, Alvogen has failed to establish that claims 4 and 5 of

    the #866 patent are invalid for nonobviousness.

                 3.     Obviousness of the #539 Patent

                        a.    Findings of Fact

                              1)     Content of the Asserted Claims

          The #539 patent discloses the results of a Belbuca® clinical trial and teaches

    methods for treating chronic pain using a two-layer mucoadhesive bioerodable

    drug delivery device where the backing layer is buffered to a pH of between 4.0

    and 4.8. Plaintiffs assert claims 9 and 20 of the #539 patent. The backing layer pH

    limitation is required in both asserted claims.

          Claim 9 covers a method for treating "moderate to severe chronic low back

    pain" comprising (1) "administering to the subject twice daily a mucoadhesive

    bioerodable drug delivery device to an oral mucosal surface of the subject" where

    the drug delivery device comprises (2) "a bioerodable mucoadhesive layer

    comprising an effective amount of buprenorphine disposed in a buffered polymeric

    diffusion environment," (3) "wherein the polymeric diffusion environment is a

    buffered environment having a pH of between about 4 and about 6," (4) "a backing

    layer buffered to a pH between about 4.0 and about 4.8 and that does not include

    an opioid antagonist," (5) wherein the total daily dose ofbuprenorphine

    administered to the subject is effective for treating moderate to severe chronic low

    back pain," (6) "wherein the subject is an opioid-experienced subject," and (7)

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    "wherein the subject treated experiences mild or moderate common opioid adverse

    effects, or no common opioid adverse effects."

          Claim 20 (which depends from claim 1) requires the same elements as claim

    9 except that (1) the method is for treating "chronic pain" generally (as opposed to

    low back pain), (2) the device can be administered "once or twice" daily, (3) the

    bioerodable mucoadhesive layer comprises "about 100 g to 0.9 mg of

    buprenorphine," (4) the device provides a steady-state Cmax of plasma

    buprenorphine concentration in a range of about 0.156 to about 0.364 ng/mL, and

    (5) between 1.5% and 8.5% of subjects experience drug related mild or moderate

    constipation as a side effect.

                               2)    Content of the Prior Art

          The priority date for the #539 patent is December 21, 2011. JTX-0003 at 1.

    Accordingly, all the prior art considered for the #866 and #843 patents is also prior

    art for the #53 9 patent. Additionally, the parent application to the #866 and the

    #843 patents, Vasisht I, is prior art to the #539 patent, because it was published on

    January 23, 2008. DTX-17; D.I. 258 at 8. Vasisht I has the same written

    description as the #866 and #843 patents.

          Claims 9 and 20 of the #539 patent require that the backing layer of the

    claimed device is buffered to a pH range of about 4 to about 4.8. Because the prior

    art does not explicitly teach that the pH of the backing layer is relevant to delivery


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    of buprenorphine, Alvogen argues that the pH limitation is inherent in V asisht I.

    Alvogen' s theory is that the backing layer formula disclosed in Vasisht I is so

    similar to the backing layer in Belbuca® that they must have the same pH. D.I.

    258 at 44-45; see also DTX-17 ,r 99 (providing a backing layer formulation). The

    pH of the Belbuca® backing layer is between 4.5 and 4.7. Tr. 576:13-25.

          Dr. Michniak-Kohn testified that the Vasisht I backing layer and the

    Belbuca® backing layer have the same weight percentages for all significant

    ingredients after converting the Vasisht I formula to dry weight. Tr. 206:3-207:23,

    209:10-17. In converting to dry weight, Dr. Michniak-Kohn rounded the resulting

    values to one or two significant figures. Tr. 283:8-15. Based on the observed

    similarity between the formulations and the undisputed fact that Belbuca® has a

    backing layer with a pH between 4.0 and 4.8, Dr. Michniak-Kohn testified that

    Vasisht I necessarily disclosed a backing layer with a pH between 4.0 and 4.8. Tr.

    206:23-207:23, 209:10-17. Dr. Michniak-Kohn did not perform any laboratory

    testing to reach her conclusions. Tr. 257:21-23. Nor did Dr. Michniak-Kohn offer

    any substantive testimony about whether her rounding could affect her conclusions

    about the pH of the backing layer taught in Visisht I.

          But in a declaration to the Patent Office during prosecution of the #539

    patent, Dr. Vasisht, one of the inventors of the asserted patents, said that the

    backing layer disclosed in Vasisht I had been remade and its pH measured. JTX-


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    006 at 4101 ,I 7. 6 Dr. Vasisht represented that the average pH of the Vasisht I

    formulation was 5 .61 and that all the measurements were outside the claimed range

    of the #539 patent. JTX-006 at 4101   ,r 7. 7
          Given two incompatible representations in the record, Dr. Michniak-Kohn's

    testimony is not sufficient to prove by clear and convincing evidence that Vasisht I

    teaches a backing layer with the same pH as the backing layer ofBelbuca®.

                              3)     Secondary Considerations
          BDSI offered additional evidence of two secondary considerations for the

    #539 patent: long-felt need and unexpected results. I find that adjusting the pH of

    the backing layer produced unexpected results.




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     Alvogen brought in JTX-006 during direct examination of their expert Dr.
    Michniak-Kohn without any limitation on the purpose for which it was admitted.
    Tr. 210:5-211:22. As a statement made by the opposing party's agent, the
    declaration of Dr. Vasisht is not hearsay. Fed. R. Evid. 801(d)(2).
    7
     Alvogen challenges the veracity of Dr. Vasisht's declaration. D.I. 258 at 46. To
    the extent that Defendants are suggesting inequitable conduct by Dr. Vasisht, this
    argument was struck. Hr'g, June 8, 2021. To the extent that Alvogen seeks to
    challenge the credibility of Dr. Vasisht's declaration, the only relevant evidence is
    Dr. Michniak-Kohn's testimony that the result reported in Dr. Vasisht's declaration
    "doesn't make sense" because it reaches a different result than her analysis. Tr.
    211 :22. But it is also possible that the discrepancy is a result of the fact the data
    relied on by Dr. Michniak-Kohn did not possess enough significant figures to
    allow an accurate comparison between the Visisht I and the Belbuca®
    formulations.

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                                     a)    Long-Felt, Unmet Need

          The #539 patent was filed in 2012. BDSI presented evidence suggesting that

    as of 2012 there was need for an buprenorphine product that did not cause QT

    prolongation at higher doses, Tr. 552:14-17, 916:2-11, and that was not a patch,

    765:21-766:2, 895:3-5. But there was no evidence presented at trial showing

    these needs were long felt, because no evidence established when artisans

    recognized the problems the #539 patent may help solve. Accordingly, I find

    consideration of long-felt need is not probative in determining the obviousness of

    the #539 patent.

                                     b)    Unexpected Results

          I find that the effects on bioavailability from changing the backing layer's

    pH were unexpected. Lowering the pH of the backing layer resulted in an increase

    in the bioavailability ofbuprenorphine. Tr. 804:2-806:19; JTX-353 at 26, PTX-

    608 at 56, DTX-019 at 30, PTX-325 at 29. 8 At trial Dr. Taft testified that this

    result were unexpected. Tr. 804:2-806:19. Additionally, no prior art taught that

    adjusting the pH of the backing layer would affect bioavailability. Dr. Michniak-

    Kohn testified that an artisan of ordinary skill would expect changing the pH of the

    backing layer to generally impact the properties of the device but did not testify



    8
      These references were admitted only for the purpose of establishing that changing
    the pH of the backing layer produced unexpected results. Tr. 806:20-7.

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   that an artisan of ordinary skill would have expected adjusting pH to effect

    bioavailability. Tr. 225:25-9; see also DTX-179 ,r 134 (teaching that a backing

    layer's pH could impact drug degradation). The surprising effect of the backing

    layer's pH on the bioavailability of a drug in the mucoadhesive layer suggests that

    an artisan of ordinary skill would not have been motivated to buffer the backing

    layer to the claimed range.

                       b.     Conclusions of Law

          I already found that as a matter of fact Alvogen has not shown by clear and

    convincing evidence that the backing layer pH limitations of the #539 patent are

    inherent in Vasisht I. Because Alvogen has not argued that any other reference

    teaches buffering the backing layer to a pH of about 4.0 to about 4.8, Alvogen has

    not shown that an artisan of ordinary skill would have been motivated to achieve

    this result. Alvogen, therefore, has not shown that the claims are obvious. This

    result is supported by the secondary consideration of unexpected results. Thus,

    Alvogen has not met its burden to prove that either claim 9 or claim 20 of the #539

    patent is invalid for obviousness.

          B.     ANTICPATION

          Alvogen argues that claims 3, 4, 5, and 10 of the #866 patent and claims 8

    and 20 of the #843 patent are anticipated by a parent application, U.S. patent

    application 11/Bl 7,915 (the #915 application, DTX-206). Alvogen's position is



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   that these claims are not entitled to the priority date of the #915 application,

    because the #915 application does not disclose the specific pH ranges claimed in

   the #866 and #843 patents, i.e. the pH ranges of about 4-6, about 4.5-5.5, and

    about 4.5-5. The parties do not dispute that if the #866 and #843 patents cannot

    claim priority to the #915 application the relevant claims are anticipated. 9

                 1.     Findings of Fact
          The #915 application, discloses the pH of certain embodiments in the

    following paragraph:

                 In one embodiment, e.g., when the medicament is
                 buprenorphine, the pH of the mucoadhesive polymeric
                 diffusion environment in the devices of the present
                 invention is between about 4.0 and about 7.5. In another
                 embodiment, the pH of the mucoadhesive polymeric


    9 Patents  are entitled to the priority date of an earlier-filed application, only if the
    earlier-filed application contains adequate written description to support the
    subsequent claims. Hologic, Inc. v. Smith & Nephew, Inc., 884 F.3d 1357, 1361
    (Fed. Cir. 2018). The "hallmark" of an adequate written description is
    "disclosure." Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed.
    Cir. 2010) (en bane). A written description is adequate to support a subsequent
    filing if the original application "reasonably conveys to those skilled in the art that
    the inventor had possession of the claimed subject matter" as of the earlier filing
    date. Id. An applicant establishes it was in possession of the invention "by
    describing the invention[] with all its claimed limitations." Lockwood v. Am.
    Airlines, Inc., 107 F.3d 1565, 1572 (Fed. Cir. 1997) (emphasis omitted). This
    description can be made using "words, structures, figures, diagrams, formulas,
    etc." Id. A patentee can also "rely on information that is 'well-known in the art' to
    satisfy written description." Streck, Inc. v. Research & Diagn,ostic Sys., Inc., 665
    F.3d 1269, 1285 (Fed. Cir. 2012) (citation omitted). The adequacy of a written
    description, including for determining priority, is a question of fact. Hologic, 884
    F.3d at 1361.

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                 diffusion environment is about 6.0. In one embodiment,
                 the pH of the mucoadhesive polymeric diffusion
                 environment is about 5.5 to about 6.5, or between about
                 6.0 and 6.5. In yet another embodiment, the pH of the
                 mucoadhesive polymeric diffusion environment is about
                 7 .25. In another embodiment, the pH is between about 7. 0
                 and 7.5, or between about 7.25 and 7.5. In other
                 embodiments, the pH of the device may be about 4.0, 4.5,
                 5.0, 5.5, 6.0, 6.5, 7.0, or 7.5, or any incremental value
                 thereof. It is to be understood that all values and ranges
                 between these values and ranges are meant to be
                 encompassed by the present invention.

    DTX-206 ,r 63. It is undisputed that this paragraph discloses at least the following

    pH values or ranges for the mucoadhesive polymeric diffusion environment: ( 1)

    between about 4.0 and about 7.5, (2) about 6.0, (3) between about 5.5 and about

    6.5, (4) between about 6.0 and 6.5, (5) about 7.25, (6) between about 7.0 and 7.5,

    and (7) between about 7 .25 and 7 .5.

          The parties dispute the meaning of "the device" in the sentence "the pH of

    the device may be about 4.0, 4.5, 5.0, 5.5, 6.0, 6.5, 7.0, or 7.5 and any incremental

    value thereof." DTX-206 ,r 63 (emphasis added). At trial there was competing

    testimony about how an artisan of ordinary skill would have understood this

    sentence. Dr. Michniak-Kohn testified that an artisan of ordinary skill would have

    understood the listed pH values as characterizing the entire device. Tr. 235:17-22.

    Dr. Williams testified that an artisan of ordinary skill would have understood the

    listed pH values to refer specifically to the pH of the "polymeric diffusion

    environment." Tr. 661:1-3. I find Dr. Williams's testimony on this point more

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    credible. The #915 application only discusses the pH of the mucoadhesive layer,

    and there is no discussion of the pH of the device as a whole, except for, perhaps,

    in this one disputed sentence. Tr. 661: 13-23. The surrounding paragraphs all

    concern the mucoadhesive layer and confirm that the quoted paragraph must also

    pertain to the properties of the mucoadhesive layer. DTX-206 ,r,r 62, 64-67.

          The #915 application would have allowed an artisan of ordinary skill to

    "immediately discern" that the inventors possessed the pH ranges taught in the

    asserted claims. See Gen. Hosp. Corp. v. Sienna Biopharmaceuticals, Inc., 888

    F.3d 1368, 1372 (Fed. Cir. 2018) ("[W]here a specification discloses a broad range

    of values and a value within that range is claimed, the disclosure must allow one

    skilled in the art to immediately discern the limitation at issue in the claims."

    (internal quotation marks and citation omitted)). The #915 application discloses a

    pH range for the mucoadhesive layer of about 4.0 to about 7.5, which includes the

    pH ranges in the relevant asserted claims. An artisan of ordinary skill would have

    understood that the broader range in Vasisht I describes every smaller sub-range as

    well, because the #915 application explicitly tells the reader "all values and ranges

    between these values and ranges are meant to be encompassed by the present

    invention." The plural "values and ranges" cannot only refer to the immediately

    prior sentence---which does not teach any ranges-but must also refer to the

    numerous pH ranges listed earlier in the paragraph.


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          Alternatively, the claimed ranges are also disclosed by the sentence "In other

    embodiments, the pH of the device may be about 4.0, 4.5, 5.0, 5.5, 6.0, 6.5, 7.0, or

    7.5 and any incremental value thereof." As I explained, I believe Dr. Williams was

    credible when he explained that an artisan of ordinary skill would understand this

    sentence to refer to the pH of the mucoadhesive layer. Because the representation

    that "all values and ranges between these values and ranges are meant to be

    encompassed by the present invention" undoubtably covers the immediately

    preceding sentence, the #915 patent teaches the pH ranges of the relevant claims.

                 2.    Conclusions of Law

          Because Alvogen has not shown by clear and convincing evidence that the

    #915 application's written description is inadequate to support the #866 and #843

    patents, those two subsequent patents can claim priority to the #915 application. It

    follows that the #915 patent cannot anticipate the claims in the #866 and #843

    patents. Therefore, the asserted claims of those patents are not anticipated.

    V.    CONCLUSION

          For the foregoing reasons, I find that the asserted claims 4 and 5 of the #866

    patent and 9 and 20 of the #529 patent are not invalid and that Alvogen infringes

    these asserted claims. I further find that asserted claims 3 and 10 of the #866

    patent and 8, 9, and 20 of the #843 patent are invalid under§ 103.

          The parties will be directed to submit a proposed order by which the Court



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   may enter final judgment consistent with this Opinion.




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